UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ORlGlNAL

UNITED STATES OF AMERICA

_ v. -¢-
SUPERSEDING INDICTMENT

 

EVGENY BURYAKOV,

 

 

 

 

 

a/k/a “Zhenya,” : Sl 15 Cr. 73 (RMB)
IGOR sPoRYSHEv, ana »_
VICTOR PODOBNYY, ' _
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COUNT ONE DOC#: -
"'_"' DATE Fl“r:p:r_);

 

The Grand Jury charges:

1. From in or about 2012, up to and including on or
about January 26, 2015, in the Southern District of New York and
elsewhere, EVGENY BURYAKOV, a/k/a “Zhenya,” IGOR SPORYSHEV, and
VICTOR PODOBNYY, the defendants, and others known and unknown,
willfully and knowingly, did combine, conspire, confederate, and
agree together and with each other to commit an offense against
the United States, to Wit, to violate Title 18, United States
Code, Section 951.

2. It was a part and an object of the conspiracy
that EVGENY BURYAKOV, a/k/a “Zhenya,” the defendant, not being a
diplomatic or consular officer or attaché, would and did act in
the United States as an agent of a foreign government, to wit,

BURYAKOV agreed to act within the United States under the

direction and control of the Russian Federation and one or more
foreign officials working on behalf of the Russian Federation,
without prior notification to the Attorney General, as required
by law, in violation of Title 18, United States Code, Section
951 .
OVERT ACTS

3. In furtherance of said conspiracy and to effect
the illegal object thereof, EVGENY BURYAKOV, a/k/a “Zhenya,”
IGOR SPORYSHEV, and VICTOR PODOBNYY, the defendants, committed
the following overt acts, among others, in the Southern District
of New York and elsewhere:

a. On or about November 6, 2012, BURYAKOV used
a telephone to speak with SPORYSHEV about information that
BURYAKOV was collecting.

b. On or about May 21, 2013, BURYAKOV used a
telephone to speak with SPORYSHEV about information that
SPORYSHEV wanted.

c. On or about May 23, 2013, SPORYSHEV
discussed with PODOBNYY, among other things, information
provided to SPORYSHEV by BURYAKOV.

d. On or about July 22, 2014, BURYAKOV met with
SPORYSHEV in the Bronx, New York, and spoke with SPORYSHEV about

a potential source of information.

e. On or about August 7, 2014, BURYAKOV met
with SPORYSHEV in the Bronx, New York, and spoke with SPORYSHEV
about a potential source of information and travel plans.

f. On or about August 8, 2014, BURYAKOV
traveled from New York City to the area of Atlantic City, New
Jersey, and obtained a document bearing markings indicating that
it came from the United States government.

g. On or about August 28, 2014, during a
meeting in Manhattan, New York, BURYAKOV obtained a document
bearing markings indicating that it came from the United States
government.

h. On or about August 28, 2014, BURYAKOV met
with SPORYSHEV in the Bronx, New York, and spoke with SPORYSHEV
about a potential source of information.

(Title 18, United States Code, Section 371.)
COUNT TWO

The Grand Jury further charges:

4. From in or about 2012, up to and including on or
about January 26, 2015, in the Southern District of New York and
elsewhere, EVGENY BURYAKOV, a/k/a “Zhenya,” the defendantr not
being a diplomatic or consular officer or attaché, did knowingly
act in the United States as an agent of a foreign government, to

wit, BURYAKOV acted within the United States under the direction

and control of the Russian Federation and one or more foreign
officials working on behalf of the Russian Federation, without
prior notification to the Attorney General, as required by law,
and IGOR SPORYSHEV and VICTOR PODOBNYY, the defendants, did aid
and abet the same.

(Title 18, United States Code, Sections 951 and 2.)

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PREET BHARARA
United States Attorney

  

Form No. USA-3BS-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
w v. _

EVGENY BURYAKOV.
a/k/a “Zhenya,”
IGOR SPORYSHEV, and
VICTOR PODOBNYY,

Defendants.

 

SUPERSEDING INDICTMENT
Sl 15 Cr. 73 (RMB}

(lS U.S.C. §§ 951, 371, and 2.}

PREET BHARARA

 

United States Attorney.

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evade-sw

 

Foreperson.

